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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                                                               16-CR-76V
          -v-
MICHAEL PETTWAY,

                Defendant.
___________________________________



                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. Lawrence J.

Vilardo, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report on dispositive motions.



                              PRELIMINARY STATEMENT

              The defendant, Michael Pettway (“the defendant”), is charged in a

superseding indictment, along with the co-defendant, Collins Pettway, with having

violated Title 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B) and 856(a)(1) and Title 18

U.S.C. §§ 924(c)(1)(A)(i). Dkt. #12. The defendant has filed a motion seeking to

suppress the use of certain statements allegedly made by him as evidence at trial.

Dkt. #29. More specifically, the defendant alleges that he “was unlawfully interrogated

while in custody without the benefit of receiving Miranda warnings.” Dkt. #36, p. 5, ¶ 18.

The government counters this claim by asserting that the “statements were made

voluntarily by the defendant and were not made in violation of his constitutional rights”

and that they “were made after [he] was advised of his Miranda warnings.” Dkt. #41,
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p. 2. As a result, an issue of disputed fact was created thereby causing the Court to

hold an evidentiary hearing on the issue. Such hearing was held on June 1, 2017 and

the matter was taken under advisement.




                                                     FACTS 1

                  The defendant and co-defendant Collins Pettway were the subject of an

ongoing drug investigation by the Buffalo Police Department (“BPD”). As part of that

investigation, an automobile belonging to the defendant was seized by the Buffalo

Police and taken to the City of Buffalo Police Garage on or about March 7, 2015. On

July 16, 2015, the defendant called Detective Mulhern of the BPD for the purpose of

retrieving the license plates from his vehicle which had been impounded on or about

March 7, 2015. It was agreed that Detective Mulhern would meet the defendant at

4:15 p.m. on July 16, 2015 at the Buffalo Police Garage for the purpose of returning the

license plates from defendant’s vehicle to the defendant.




                  In the meantime, Detective Mulhern made arrangements with other

Buffalo Police officers to have them present at the police garage on July 16, 2015 for

the purpose of arresting the defendant when he arrived there to pick up the license

plates. Approximately six police officers were assigned to this task. Illegal drugs and

weapons had been found previously in the defendant’s apartment located at 460 Eggert

Road, Buffalo, New York pursuant to a search warrant issued by a judge of the Buffalo

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 The facts are taken from the filings herein as well as this Court’s notes taken during the evidentiary hearing held
on June 1, 2017.

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City Court. Since law enforcement authorities had been unable to locate the

whereabouts of the defendant, a be on the lookout alert (“BOLA”) had been issued for

the defendant by the BPD prior to July 16, 2015.




              At approximately 4:15 p.m. on July 16, 2016, the defendant appeared at

the police garage and identified himself to Detective Mulhern and requested the return

of the license plates to his vehicle. Using a pre-arranged signal, Detective Mulhern

alerted the other police officers to effectuate the arrest of the defendant. Detective Leo

McGrath and other police officers entered the vestibule of the police garage where the

defendant was standing and placed him under arrest and placed handcuffs on him. At

this point Detective McGrath proceeded to give Miranda warnings to the defendant by

advising him of his rights by reading from a BPD “Miranda Card” (Government

Exhibit 1). Detective McGrath also read the “waiver” provisions contained in

Government Exhibit 1 to the defendant and then asked the defendant if he understood

his rights to which the defendant said he did.




              While Detective Mulhern and the defendant were waiting for a marked

BPD patrol car to arrive to transport the defendant to the police booking office after the

defendant had been placed under arrest and given Miranda warnings, Detective

Mulhern asked the defendant “is that your girlfriend waiting in the car for you?” to which

the defendant replied “yes.” Detective Mulhern told the defendant that his girlfriend

“was in the [defendant’s] apartment” when the police executed the search warrant and


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found the 2 handguns and 3 pounds of cocaine” to which the defendant replied that “he

didn’t know anything about that” because “she never mentioned that.” Detective

Mulhern then asked the defendant if his brother, Collins, said anything to him because

he [Collins] was arrested too” and the defendant responded, “no, he never told me

anything about it either.” Detective Mulhern then asked the defendant “why [his]

identification was on the dresser with the cocaine and guns” to which the defendant

replied, “I don’t know what you are talking about.” Government Exhibit 2, CPL 710.30

form.




                              DISCUSSION AND ANALYSIS


              The defendant did not present any evidence on his behalf in support of his

motion to suppress the aforesaid statements contained in Government Exhibit 2 and

therefore the only real issue before this Court is that of credibility as to the testimony of

Detectives McGrath and Mulhern as to the events of July 16, 2015. While listening to

the testimony of both detectives, this Court closely observed the demeanor of each

detective during his examination on direct and cross examination. The credibility of

witnesses is a question for the judge who heard them. United States v. Miley, 513 F.2d

1191, 1201 (2d Cir.), cert. denied, 4213 U.S. 842 (1975); United States v. Fernandez,

456 F.2d 638, 640 (2d Cir. 1972). I find that both detectives were credible witnesses

and accept their testimony in its entirety that the defendant had been given Miranda

warnings and advice of rights immediately after he had been placed under arrest by

Detective McGrath and before he was interviewed by Detective Mulhern. Therefore, it


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is recommended that the defendant’s motion to suppress the statements allegedly

made by him as set forth in Government Exhibit 2 be denied in all respects.




              As an aside, I do not consider the statements attributed to the defendant

in Government Exhibit 2 to be inculpatory but deemed the evidentiary hearing as

necessary since the defendant had raised a material issue of fact in this regard. See

United States v. Mathurnin, 148 F.3d 68, 69 (2d Cir. 1998).




              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Report, Recommendation and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statue,

Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time


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waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).




              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:        June 12, 2017
              Buffalo, New York



                                           S/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge




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